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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


 STATE OF NEBRASKA, et al.,

               Plaintiffs,
                                                       Case No. 4:22-cv-1040-HEA
        v.

 JOSEPH R. BIDEN, JR., et al.,

               Defendants.


                                 NOTICE OF APPEARANCE

       Please take notice that Samuel Rebo, Trial Attorney at the United States Department of

Justice, Civil Division, Federal Programs Branch, hereby enters his appearance as counsel of

record for Defendants in the above-captioned matter.
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Dated: October 13, 2022             Respectfully submitted,

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